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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT COURT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al., *

      Plaintiffs,                      *

      v.                               *        Civil Case No. 16-cv-3311-MJG

LAWRENCE HOGAN, et al.,                *

      Defendants.                      *

*     *      *       *    *   *    *       *    *     *       *   *      *      *

                   DEFENDANTS’ MEMORANDUM IN SUPPORT
                 OF MOTION TO DISMISS AMENDED COMPLAINT



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                                     INTRODUCTION

       Defendants Governor Lawrence J. Hogan, Jr. and Superintendent of State Police

Colonel William M. Pallozzi, sued in their official capacities, move to dismiss the

complaint for failure to state a claim upon which relief can be granted pursuant to Federal

Rule of Civil Procedure 12(b)(6).1 All three counts of the complaint challenge Maryland’s

requirement that most individuals wishing to purchase a handgun in Maryland first obtain

a Handgun Qualification License (“HQL”). In Count I, the plaintiffs allege that certain

aspects of Maryland’s HQL requirement violate the Second Amendment to the United

States Constitution. Count I fails to state a claim because the HQL requirement easily

satisfies the most stringent test that might apply, intermediate scrutiny, as it is a reasonable

fit to the State’s compelling interest in public safety and reducing handgun violence.

       In Count II, the plaintiffs allege that two aspects of the HQL requirement violate the

their due process rights: (1) a reliance on private handgun instructors to provide required

training, which the plaintiffs claim violates their procedural due process rights; and (2) the

HQL requirement’s application to individuals who “receive” a handgun, which the

plaintiffs contend is void for vagueness. Count II fails because the plaintiffs have failed to

identify any actual deprivation of a constitutionally-protected right, and because the term

“receive” is not vague, especially in context and in light of controlling Maryland law.

       In Count III, the plaintiffs allege that various aspects of the regulations

implementing the HQL requirement are ultra vires under Maryland law. Count III fails for


       1
         Governor Hogan is named as a defendant only because he is a state official
required to implement the statutory scheme.
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several reasons, including: (1) several of the plaintiffs’ claims rely on misstatements of

the regulations; (2) the challenged requirements are clearly within the scope of the authority

delegated to the Maryland State Police; and (3) the statute does not require the Maryland

State Police to offer any of the services that the plaintiffs complain it is not offering.


                               FACTUAL BACKGROUND

       A.     The HQL Requirement of the Firearm Safety Act of 2013

       The Firearm Safety Act of 2013, Chapter 427 of the 2007 Laws of Maryland (the

“Firearm Safety Act”), was a comprehensive effort to enhance public safety. The plaintiffs

in this case challenge the Act’s requirement that most purchasers of handguns in Maryland

have a valid HQL. The HQL requirement, which incorporates a robust background check

and a safety training requirement, is found in § 5-117.1 of the Public Safety Article, which

is reproduced as Exhibit 2. Subject to certain exemptions, the HQL requirement provides

that one person may not “sell, rent, or transfer a handgun” to a second person, and the

second person may not “purchase, rent, or receive a handgun” from the first person, unless

the second person presents a valid HQL. Md. Code Ann., Pub. Safety § 5-117.1(b) & (c).

       Section 5-117.1(d) requires the Secretary of State Police to issue an HQL to an

applicant who: (i) is at least 21 years old; (ii) is a Maryland resident; (iii) has completed a

firearms safety training course meeting certain criteria within three years of applying for

an HQL; and (iv) based on an investigation by the Maryland State Police, is not prohibited

from owning a firearm. The required firearms safety training course must include at least

four hours of instruction by a qualified handgun instructor, including, among other


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elements, classroom instruction on home firearm safety and the mechanisms and operation

of handguns and “a firearms orientation component that demonstrates the person’s safe

operation and handling of a firearm.” Pub. Safety § 5-117.1(d)(3).2

       The required investigation of whether an individual may lawfully possess a firearm

must include a state and national criminal history check that utilizes fingerprints required

to be submitted as part of the HQL application. Pub. Safety § 5-117.1(f).

       The statute requires an applicant for an HQL to submit: (1) “an application in the

manner and format designated by the Secretary”; (2) an application fee “to cover the costs

to administer the program of up to $50”; (3) proof of completion of the training

requirement; (4) any other information or documentation required by the Secretary; and

(5) a statement under oath that the individual is not prohibited from possessing a handgun.

Pub. Safety § 5-117.1(g). Within 30 days of receiving a complete application, the Secretary

is charged with either issuing an HQL or providing a written denial accompanied by a

statement of the reason for the denial and notice of appeal rights. Pub. Safety § 5-117.1(h).

       An HQL is valid for 10 years from its issuance. Pub. Safety § 5-117.1(i). A person

who is denied an HQL for any reason, or whose HQL is revoked for any reason, may

request a hearing from the Secretary within 30 days of the denial or revocation. Pub. Safety

§ 5-117.1(l)(1). A party still aggrieved after such a hearing may pursue judicial review in

the Maryland state courts. Pub. Safety § 5-117.1(l)(3).


       2
         The training course requirement is waived for an individual who, among other
exemptions, has completed certain other training courses or already lawfully owns a
“regulated firearm.” Pub. Safety § 5-117.1(e). A regulated firearm includes any handgun.
Pub. Safety § 5-101(r).

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      B.      The HQL Implementing Regulations

      The General Assembly has authorized the Secretary to adopt regulations to carry

out the HQL provisions. Pub. Safety §§ 5-105, 5-117.1(n). Effective December 23, 2013,

the Maryland State Police adopted such regulations, which appear at 29.03.01.26 – .41 of

the Code of Maryland Regulations (“COMAR”), attached as Exhibit 3. Among others:

            COMAR 29.03.01.28(B) prescribes the required elements to include in an
             application for an HQL, including identifying and contact information, proof
             of completion of or exemption from the training requirement, fingerprints,
             and authorization for release of mental health records; and

            COMAR 29.03.01.29(C) provides further detail on the elements of the
             required training course that are identified in the statute, including aspects of
             state firearm law, home firearm safety, and handgun mechanisms and
             operation that must be covered. Implementing the statute’s requirement that
             the training component include a demonstration of “the person’s safe
             operation and handling of a firearm,” the regulations require that the training
             must include “a practice component in which the applicant safely fires at
             least one round of live ammunition.” COMAR 29.03.01.29(C)(4).

      The regulations were published in draft form in the Maryland Register on September

20, 2013, at Volume 40, Issue 19, Pages 1568-83, and granted emergency status on October

18, 2013, as reflected in the Maryland Register at Volume 40, Issue 21, Page 1772. On

November 26, 2013, the Maryland State Police adopted the final regulations, which were

then published in the Maryland Register on December 13, 2013, at Volume 40, Issue 25,

Pages 2072-73. In accord with § 10-117 of the State Government Article, the regulations

became effective on December 23, 2013.

      The Maryland State Police maintains a public website that includes the HQL

application itself, information about the application and the training requirement, and

information     about     becoming      a    qualified    handgun      instructor.        See
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http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDi

vision/Firearms/HandgunQualificationLicense.aspx (last visited Jan. 20, 2017).           The

website also includes a search engine to allow individuals to locate and access contact

information     for   more      than    1,100       qualified   handgun   instructors,   see

https://emdsp.mdsp.org/verification/ (last visited Jan. 20, 2017), and additional

information about fingerprinting services, including a link to a map of fingerprint vendors

maintained by the Department of Public Safety and Correctional Services, see

http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDi

vision/Fingerprinting.aspx (last visited Jan. 20, 2017).

       C.     The Plaintiffs

       Plaintiff Maryland Shall Issue, Inc. (“MSI”), is an organization of “approximately

772 members” that is “dedicated to the preservation and advancement of gun owners’ rights

in Maryland.” ECF No. 14, Am. Compl. ¶ 25. MSI contends that the HQL requirement

causes it direct harm “by undermining its message and acting as an obstacle to [its]

objectives and purposes.” Id. MSI also contends that its membership includes “individuals

who have been deterred from purchasing a handgun because of the expense and

inconvenience of the HQL application process and its constituent parts.” Id.

       Plaintiff Atlantic Guns, Inc. is a Maryland-based, federally-licensed firearms dealer.

Atlantic Guns contends that its rights are violated by the HQL requirement and that it is

also representing the interests of its customers. Id. ¶ 26.

       Plaintiff Ana Sliveira holds a security clearance in connection with her employment

as a contractor to the Department of Defense, does not currently own a firearm or possess

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an HQL, but would like to purchase a handgun for protection of herself and her family. Id.

¶¶ 6-9. “Ms. Sliveira has been deterred from purchasing a handgun because of the expense

and inconvenience of the HQL application process and its constituent parts.” Id. ¶ 9.

Ms. Sliveira was one of the millions of individuals whose personal information was

potentially accessed in the Office of Personnel Management (“OPM”) data breach revealed

in early 2015. Id. ¶ 10.

      Plaintiff Deborah Kay Miller is an MSI member who does not currently possess an

HQL, but would like to purchase a handgun. Id. ¶¶ 12-14. “Ms. Miller has been deterred

from purchasing a handgun because of the expense and inconvenience of the HQL

application process and its constituent parts.” Id. ¶ 14. The complaint does not state

whether Ms. Miller currently owns any handguns or other firearms.

      Plaintiff Susan Brancato Vizas has taken a hunter safety training class, does not

have an HQL, would like to purchase a handgun, but believes that the remaining steps to

obtain an HQL are “sufficiently burdensome that she has not moved forward.” Id.

¶¶ 16-19. “Ms. Vizas has been deterred from purchasing a handgun because of the expense

and inconvenience of the HQL application process and its constituent parts.” Id. ¶ 19. The

complaint does not state whether Ms. Vizas currently owns any handguns or other firearms.

      Plaintiff Christina Bunch does not currently possess an HQL, would like to purchase

a handgun, but “cannot afford the time or excessive cost of acquiring an HQL” and, thus,

“has been deterred from purchasing a handgun because of the expense and inconvenience

of the HQL application process and its constituent parts.” Id. ¶¶ 20-24. The complaint

does not state whether Ms. Bunch currently owns any handguns or other firearms.

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                                STANDARD OF REVIEW

       To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain

sufficient factual matter, accepted as true, ‘to state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). The factual allegations “must be enough to raise a right to relief

above the speculative level.” Kerr v. Marshall Univ. Bd. of Governors, 824 F.3d 62, 71

(4th Cir. 2016) (quoting Twombly, 550 U.S. at 555). Although the Court is required to

“‘take the facts in the light most favorable to the plaintiff,’” the Court “need not accept

legal conclusions couched as facts or ‘unwarranted inferences, unreasonable conclusions,

or arguments.’” Wag More Dogs, LLC v. Cozart, 680 F.3d 359, 365 (4th Cir. 2012)

(citations omitted). Nor may the Court credit “‘naked assertions devoid of further factual

enhancement.’” United States ex rel. Oberg v. Pennsylvania Higher Educ. Assistance

Agency, 745 F.3d 131, 136 (4th Cir. 2014) (quoting Iqbal, 556 U.S. at 678).

       This Court is “not confined to the four corners of the complaint” and “may properly

take judicial notice of matters of public record,” Oberg, 745 F.3d at 136, including

“publicly available” statistics, Hall v. Virginia, 385 F.3d 421, 424 n.3 (4th Cir. 2004)

(citing Papasan v. Allain, 478 U.S. 265, 268 n.1 (1986)). This Court also may consider

“documents incorporated into the complaint by reference, as well as those attached to the

motion to dismiss, so long as they are integral to the complaint and authentic.” Oberg, 745

F.3d at 136 (internal citations and quotation marks omitted).




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                                       ARGUMENT

I.     THE PLAINTIFFS’ SECOND AMENDMENT CLAIM FAILS BECAUSE THE
       HQL REQUIREMENT IS REASONABLY ADAPTED TO THE STATE’S
       SUBSTANTIAL INTERESTS IN ADVANCING PUBLIC SAFETY AND REDUCING
       THE NEGATIVE EFFECTS OF FIREARMS VIOLENCE.

       In Count I, the plaintiffs bring a Second Amendment challenge to certain statutory

and regulatory requirements of the HQL, centered on the cost and time required to acquire

an HQL. The plaintiffs’ challenges to these requirements fail as a matter of law.

       A.     The Second Amendment Framework

       The Second Amendment provides: “A well regulated Militia, being necessary to

the security of a free State, the right of the people to keep and bear Arms, shall not be

infringed.”   U.S. Const., amend. II.       The Supreme Court interpreted the Second

Amendment in District of Columbia v. Heller, 554 U.S. 570 (2008) (“Heller I”) as having

codified a pre-existing individual right, id. at 592, that “elevates above all other interests

the right of law-abiding, responsible citizens to use arms in defense of hearth and home,”

id. at 635. Accordingly, the Court struck down a District of Columbia law that imposed a

“complete prohibition” on the possession of handguns within the home. Id. at 628-29.

       The Court emphasized, however, that “nothing in [its] opinion should be taken to

cast doubt” on “presumptively lawful regulatory measures” such as (i) longstanding bans

on “the possession of firearms by felons and the mentally ill”; (ii) bans on “the carrying of

firearms in sensitive places such as schools and government buildings”; or (iii) “laws

imposing conditions and qualifications on the commercial sale of arms.” Id. at 626-27 &

n.26. The Court’s list of “examples” of presumptively lawful regulations did “not purport


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to be exhaustive.” Id. at 627 n.26. In McDonald v. City of Chicago, 561 U.S. 742 (2010),

the Supreme Court held that the individual Second Amendment right is “fully applicable

to the States,” id. at 748, but promised that “[s]tate and local experimentation with

reasonable firearms regulation will continue under the Second Amendment,” id. at 784.

       Post-Heller I and McDonald, the United States Court of Appeals for the Fourth

Circuit has adopted a two-pronged approach to analyzing Second Amendment challenges.

Woollard v. Gallagher, 712 F.3d 865, 874-75 (4th Cir.), cert. denied, 134 S. Ct. 422 (2013);

United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010). Under this approach, the first

question is “whether the challenged law imposes a burden on conduct falling within the

scope of the Second Amendment’s guarantee.”           Chester, 628 F.3d at 680 (internal

quotation marks omitted). If not, the challenged law is valid. Id. If, on the other hand, the

burdened conduct is found to be within the scope of the Amendment, then the second prong

requires the application of “an appropriate form of means-end scrutiny.” Id.

       B.     To the Extent the HQL Requirement Burdens Conduct Falling
              Within the Scope of the Second Amendment, Intermediate
              Scrutiny Is the Applicable Standard of Review.

       The Fourth Circuit has adopted intermediate scrutiny as the appropriate test for

regulations that implicate the Second Amendment right but that do not substantially burden

the core right of in-home self-defense by responsible, law-abiding citizens. Woollard, 712

F.3d at 878-79; United States v. Masciandaro, 638 F.3d 458, 471 (4th Cir. 2011); Chester,

628 F.3d at 683. Intermediate scrutiny is the appropriate standard of review in this case

because the challenged provisions “‘do[] not severely limit the possession of firearms’ . . .

[and] none of the [statutory or regulatory] requirements prevents an individual from

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possessing a firearm in his home or elsewhere, whether for self-defense or hunting, or any

other lawful purpose.’” Heller v. District of Columbia, 670 F.3d 1244, 1257-58 (D.C. Cir.

2011) (“Heller II”) (holding intermediate scrutiny was the appropriate standard of review

to apply to the District’s firearm registration law, which includes fingerprint and firearm

safety training requirements) (quoting United States v. Marzzarella, 614 F.3d 85, 97 (3d

Cir. 2010)); see also Kwong v. Bloomberg, 723 F.3d 160, 167-68 (2d Cir. 2013) (explaining

that “the fact that the licensing regime makes the exercise of one’s Second Amendment

rights more expensive does not necessarily mean that it ‘substantially burdens’ that right”

and holding that New York’s $350 firearm licensing fee “easily survives ‘intermediate

scrutiny’”), cert. denied sub nom. Kwong v. de Blasio, 134 S. Ct. 2696 (2014); Justice v.

Town of Cicero, Ill., 827 F. Supp. 2d 835, 845 (N.D. Ill. 2011) (applying a form of

intermediate scrutiny to registration requirement that was “merely regulatory” and, thus,

“[did] not place a categorical limit on [the plaintiff’s] possession of firearms”).

       Under the intermediate scrutiny test, the government bears the burden of

demonstrating that the challenged regulation “is reasonably adapted to a substantial

government interest,” Masciandaro, 638 F.3d at 471, meaning that there is a “‘reasonable

fit’ between the challenged regulation and a ‘substantial’ government objective,” Chester,

628 F.3d at 683. “[T]he State must show a fit that is reasonable, not perfect,” and makes

this showing by demonstrating that its “interests are substantially served” by the challenged

law. Woollard, 712 F.3d at 878 (citations omitted).

       To meet its burden, the State may “resort to a wide range of sources, such as

legislative text and history, empirical evidence, case law, and common sense, as

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circumstances and context require.” United States v. Carter, 669 F.3d 411, 418 (4th Cir.

2012); see also United States v. Staten, 666 F.3d 154, 163-67 (4th Cir. 2011) (government

satisfied its burden under intermediate scrutiny through submission of scholarly social

science evidence). A court’s role is not to determine whether the legislature made the

correct policy decision; rather, it is “to ensure that the legislature’s policy choice

substantially serves a significant governmental interest.” Woollard, 712 F.3d at 881.

      C.     Plaintiffs’ Facial Challenge to the HQL Requirements Set Forth
             in the Firearm Safety Act Fails to State a Claim for Relief Because
             Those Requirements Have a Plainly Legitimate Sweep.

      To be successful in their facial challenge, the plaintiffs “‘must establish that no set

of circumstances exists under which the [law] would be valid.’” United States v. Hosford,

843 F.3d 161, 165 (4th Cir. 2016) (quoting United States v. Salerno, 481 U.S. 739, 745

(1987)). “Because of this stringent standard, a facial challenge is perhaps ‘the most

difficult challenge to mount successfully.’” Id. (quoting Salerno, 481 U.S. at 745). The

Supreme Court “disfavor[s]” facial challenges because they “often rest on speculation,”

“run contrary to the fundamental principle of judicial restraint,” and “threaten to short

circuit the democratic process by preventing laws embodying the will of the people from

being implemented in a manner consistent with the Constitution.” Washington State

Grange v. Washington State Republican Party, 552 U.S. 442, 450-51 (2008).

      The plaintiffs’ facial challenge fails to state any claim for relief because, as a matter

of law, they cannot demonstrate that “no set of circumstances exists under which the [law]

would be valid.”    Hosford, 843 F.3d at 165.        On the contrary, the HQL statutory

requirements have a “plainly legitimate sweep.” Washington State Grange, 552 U.S. at

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449 (quotation marks and citation omitted). The HQL law easily satisfies the first prong

of the intermediate scrutiny analysis, which requires that the State’s interest be substantial,

as advancing public safety and reducing the negative effects of firearms violence are

substantial, indeed compelling, government interests. Woollard, 712 F.3d at 877-78.

Under the second prong, publicly-available empirical evidence, case law, and common

sense all demonstrate that the HQL law is “reasonably adapted” to these interests.

              1.     The Fingerprint, Background Check, and Firearms Safety
                     Training Provisions of the HQL Law Are Constitutional.

       The plaintiffs challenge the fingerprint, background check, and firearm safety

training provisions of the HQL law, all of which are reasonably adapted to the State’s

substantial interests. First, Maryland’s requirement that HQL applicants obtain a set of

fingerprints for purposes of conducting enhanced background checks substantially serves

the State’s interest in promoting public safety by making it more difficult for a prohibited

person to obtain access to a firearm. See Heller v. District of Columbia, 801 F.3d 264,

276-77 (D.C. Cir. 2015) (“Heller III”) (holding the District could reasonably conclude that

the fingerprint requirement would “advance public safety by preventing at least some

ineligible individuals from obtaining weapons”). Robust background checks animate the

State’s policy of keeping firearms out of the possession of felons, a “presumptively lawful”

and longstanding firearms restriction. Heller I, 554 U.S. at 626-27 & n.26.

       The State’s interest is particularly acute when it comes to keeping handguns out of

the hands of criminals. Handguns are the firearms most frequently used by criminals in

Maryland. Woollard, 712 F.3d at 877. According to data collected by the FBI, there were


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372 murders in Maryland in 2015, 279 of which involved a firearm. Of those 279, 266

involved handguns. Federal Bureau of Investigation, 2015 Crime in the United States,

Table 20, Murder by State, Types of Weapons, 2015, available at https://ucr.fbi.gov/crime-

in-the-u.s/2015/crime-in-the-u.s.-2015/tables/table-20 (last visited Nov. 30, 2016). Thus,

murders with handguns comprised more than 95% of murders with firearms and more than

71% of all murders in Maryland. Id.

       The greater utility of background checks using fingerprints than those conducted

without them is well established through case law and public reports, and is thus subject to

judicial notice. See Hall, 385 F.3d at 424 n.3 (courts may take judicial notice of publicly-

available statistics). For example, in Heller III, the D.C. Circuit credited the District’s

evidence demonstrating that “background checks using fingerprints are more reliable than

background checks conducted without fingerprints, which are more susceptible to fraud.”

801 F.3d at 276. The court highlighted an investigation conducted by the U.S. Government

Accountability Office (“GAO”), in which undercover agents using counterfeit driver’s

licenses succeeded, without exception, in purchasing firearms from federally-licensed

firearms dealers. Id. The report “concluded that federal background checks conducted by

the firearm dealers [without fingerprinting] ‘cannot ensure that the prospective purchaser

is not a felon or other prohibited person whose receipt and possession of a firearm would

be unlawful.’” Id. (quoting GAO–01–427, Firearms Purchased from Federal Firearm

Licensees Using Bogus Identification 2 (2001)).           These findings provide ample

justification for dismissing plaintiffs’ facial challenge to the HQL law’s fingerprint and

background check requirements. See City of Renton v. Playtime Theatres, Inc., 475 U.S.

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41, 51-52 (1986) (explaining that the State may rely on evidence “already generated” by

other jurisdictions); see also Carandola v. Bason, 303 F.3d 507, 515 (4th Cir. 2002)

(government may rely on evidentiary foundation set forth in other cases).

       The D.C. Circuit’s conclusion, based on publicly-available evidence, belies the

plaintiffs’ erroneous allegation that the fingerprinting and background check requirements

of the HQL law are “completely unnecessary” because handgun purchasers in Maryland

must pass the background check mandated by federal law when purchasing a firearm. ECF

No. 14, Am. Compl. ¶ 3. The plaintiffs’ contention that “every handgun purchaser is

subjected to the same background check required for a [HQL] for every purchase of every

handgun, including purchases taking place immediately after receipt of the [HQL],” id., is

a misstatement of the law. The more robust HQL background check, which includes

fingerprints, is conducted only once every 10 years. Pub. Safety § 5-117.1(i). The more

routine background check conducted prior to every handgun purchase is based only on

state-issued identification, not fingerprints. Pub. Safety § 5-118(b).

       Further, empirical studies of the effects of laws that require individuals to obtain a

license to purchase a firearm and pass a background check based on fingerprints, of which

this Court may also take judicial notice, have found that these laws are associated with a

reduction in the flow of guns to criminals.3 A study of Connecticut’s law – which includes

requirements for enhanced background checks with fingerprints and completion of an


       3
        Ex. 4, Daniel Webster et al., Preventing the Diversion of Guns to Criminals
through Effective Firearm Sales Laws, in Reducing Gun Violence in America: Informing
Policy with Evidence and Analysis 109-22 (Webster, et al., eds., Johns Hopkins Univ. Press
2013).

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approved handgun safety course, Conn. Gen. Stat. § 29-36(f), (g) – found that the licensing

requirement to purchase a firearm was associated with a statistically significant reduction

in Connecticut’s firearm homicide rates during the first decade that the law was in place,

with no similar reduction in non-firearm homicides.4

       Similarly supportive is the experience of Missouri, which went in the opposite

direction after it repealed its handgun licensing requirement. After repeal, firearm-related

homicide rates increased abruptly, with no similar increase in surrounding states or the

nation, and the state experienced an increase in the percentage of crime guns recovered by

police that had been originally sold by in-state retailers.5 Studies of Missouri’s and

Connecticut’s experiences also have found the presence of firearm licensing laws to be

associated with lower rates of firearm-related suicides.6

       Second, common sense supports the General Assembly’s conclusion that

Maryland’s requirement that HQL applicants receive training in the proper and safe

operation, handling, and storage of a handgun, will lead to a decrease in accidental deaths

by firearm. See Carter, 669 F.3d at 418 (common sense is one source on which the State

may rely to carry its burden under intermediate scrutiny). Handguns are necessarily and

purposely dangerous, and requiring minimal training in how to avoid unintended harm


       4
       Ex. 5, Kara E. Rudolph, et al., Association Between Connecticut’s Permit-to-
Purchase Handgun Law and Homicides, 105 Am. J. of Public Health 8, e49 (Aug. 2015).
       5
        Ex. 6, Daniel Webster, et al., Effects of the Repeal of Missouri’s Handgun
Purchaser Licensing Law on Homicides, 91 J. of Urban Health 2, 293 (2014).
       6
        Ex. 7, Cassandra K. Crifasi, et al., Effects of Changes in Permit-to-Purchase
Handgun Laws in Connecticut and Missouri on Suicide Rates, 79 Preventive medicine 43
(2015).

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from their ownership easily satisfies intermediate scrutiny. See Heller III, 801 F.3d at

278-79 (holding District’s mandatory firearms safety training was constitutional based on

the District’s presentation of “substantial evidence from which it could conclude that

training in the safe use of firearms promotes public safety by reducing accidents involving

firearms”). Indeed, in Maryland, law enforcement officers are required to receive extensive

training on the operation, handling, and storage of handguns, including in the home. See

COMAR 12.04.02.03 ̶ .05; 12.04.02.03.10(D). These longstanding training requirements

strongly support the utility of the relatively brief, four hours of training that civilian

handgun purchasers must receive. See Heller III, 801 F.3d at 279 & n.3 (relying on

“anecdotal evidence showing the adoption of training requirements ‘in most every law

enforcement profession that requires the carrying of a firearm’ and a professional

consensus in favor of safety training”). Given the popularity of handguns for in-home self-

defense, see Heller I, 554 U.S. at 628, and the potential dangers that arise when handguns

are improperly stored or handled in the home, Maryland’s requirement of a four-hour

training course is reasonably adapted to the State’s goal of reducing firearm-related deaths.

       Finally, the plaintiffs’ conclusory allegation that firearms safety instructors are not

accessible in all areas of the State, ECF No. 14, Am. Compl. ¶ 46, does not state a claim

for relief. None of the individual plaintiffs (and in the case of MSI, none of its members)

has alleged that qualified instructors for these services are not accessible to her. Thus, even

if some individuals might lack access to an instructor, that cannot support a facial challenge

or, indeed, any challenge by these plaintiffs.



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              2.      The Costs Associated with the HQL Requirement and the
                      Application Period Are Constitutional.

       The plaintiffs also challenge the costs associated with the statutory fingerprint,

background check, and training requirements. However, because these provisions of the

HQL law are constitutional, the “additional requirement” that applicants bear the cost of

complying with them “is but a corollary necessary to implement those requirements” and,

thus, also constitutional. Heller III, 801 F.3d at 277. Nothing in Heller I or McDonald

suggests that presumptively lawful regulations on the commercial sale of firearms or a

state’s enactment of reasonable regulation to protect public safety cannot impose some

costs on consumers of firearms. “The fact that a law which serves a valid purpose, one not

designed to strike at the right itself, has the incidental effect of making it more difficult or

more expensive to [exercise the right] cannot be enough to invalidate it.” Planned

Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833, 874 (1992). Moreover, the

plaintiffs’ facial challenge to the costs associated with fulfilling these requirements fails

for the additional reason that they have not alleged facts to support their claim that these

costs impose an unconstitutional burden in every circumstance.7

       The plaintiffs specifically challenge the $50 administrative cost of the HQL

application set forth in the statute. This facial challenge fails because “reasonable fees

associated with the constitutional requirements” of firearm registration and licensing “are



       7
         Indeed, although plaintiff MSI “has approximately 772 members statewide,” ECF
No. 14, Am. Compl. ¶ 25, the pleadings identify only one specific member who has “been
deterred from purchasing a handgun because of the expense and inconvenience of the HQL
application and its constituent parts,” ¶¶ 12-14.
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also constitutional.” Heller III, 801 F.3d at 278 (finding registration fees of $13 per firearm

and $35 for fingerprinting were constitutional); see also Kwong, 723 F.3d at 165-67

(approving $350 licensing fee); Justice, 827 F. Supp. 2d at 842 (approving $25 application

fee). Just as in the First Amendment context, the State may impose licensing fees when

the fees are designed “to meet the expense incident to the administration” of the licensing

statute. Cox v. New Hampshire, 312 U.S. 569, 577 (1941) (internal quotation marks

omitted) (upholding parade licensing statute that imposed a sliding fee); see also Center

for Auto Safety Inc. v. Athey, 37 F.3d 139, 145 (4th Cir. 1994) (holding that charitable

registration fees furthered legitimate government purpose in “enabl[ing] the state to prevent

fraud by charities soliciting funds in Maryland”). Here, the statute limits the allowable fee

only to the amount “to cover the costs to administer the program.”               Pub. Safety,

§ 5-117.1(g)(2). Because the $50 fee, which amounts to only $5 per year, is associated

with a licensing scheme that is facially constitutional, the fee also is constitutional.

       Finally, the plaintiffs challenge the length of time it takes for the State to issue the

HQL after an application is submitted, which is statutorily capped at 30 days. Pub. Safety

§ 5-117.1(h)(1). The 30-day statutory period has a plainly legitimate sweep, however,

because it advances Maryland’s substantial interest in ensuring that an HQL is not

improperly granted to a prohibited person.          Notably, the 30-day statutory limit is

significantly shorter than the time limit adopted in some other states. See, e.g., N.Y. Penal

Law § 400.00(4-a) (providing for a six-month application period); Conn. Gen. Stat.

§ 29-36g (90-day period).     Moreover, the statute merely sets an outer limit of 30 days,

during which applicants are not prohibited from purchasing a firearm other than a handgun

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or from using handguns they already own. Thus, the plaintiffs’ have not stated a facial

claim that the application period imposes an unconstitutional burden in every circumstance.

       D.     Plaintiffs’ Facial Challenge to the HQL Requirements Set Forth
              in the Implementing Regulations Fails to State a Claim for Relief
              Because Those Requirements Have a Plainly Legitimate Sweep.

       In addition to the requirements set forth by statute, the plaintiffs also challenge

regulatory provisions implemented by the Secretary. These challenges also fail.

       First, the plaintiffs challenge the regulatory requirement that fingerprints be

obtained via “livescan” technology, challenging both the cost and alleged inconvenience

of this requirement. As discussed above, because the statutory fingerprint requirement is

itself constitutional, the costs associated with that requirement also are constitutional. The

plaintiffs have not alleged that these costs, which they allege amount to approximately $50,

ECF No. 14, Am. Compl. ¶ 37(f), impose an excessive burden in every circumstance, as

required for a facial claim. Further, for reasons set forth above, the plaintiffs’ conclusory

allegations that live-scan fingerprint vendors are not accessible in all areas of the State,

ECF No. 14, Am. Compl. ¶ 46, cannot state a claim for relief, because none of the

individual plaintiffs (and in the case of MSI, none of its members) has alleged that vendors

for these services are not accessible to her. Thus, the plaintiffs both lack standing to bring

that challenge and have failed to allege adequate facts to state a facial challenge.

       Second, the plaintiffs challenge the regulatory requirement that the four-hour

firearms training include “a practice component in which the applicant safely fires at least

one round of live ammunition,” COMAR 29.03.01.29(C)(4), again alleging that the cost

and inconvenience of this regulatory requirement imposes unconstitutional burdens on the

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Second Amendment right. However, as discussed above, the handgun safety training

requirement of the law easily satisfies intermediate scrutiny, and the requirement to

demonstrate the baseline competency to safely fire a single live round of ammunition is

reasonably adapted to the State’s substantial interest in promoting firearm safety.

       Moreover, the plaintiffs again have failed sufficiently to allege that the costs and

inconvenience of the live fire requirement are unconstitutional as to every potential

applicant.   Although the plaintiffs allege that the live fire requirement imposes an

unconstitutional burden on “disadvantaged citizens of Maryland who live in urban areas,

where access to a public shooting range is effectively non-existent, such as the City of

Baltimore,” ECF No. 14, Am. Compl. ¶ 46, none of the plaintiffs (or, in the case of MSI,

none of its identified members) lives in the City of Baltimore or any other such area. See

ECF No. 14, Am. Compl. at 1 (plaintiffs live in California, Crownsville, Frederick, and

Eldersburg). Thus, none of the plaintiffs has standing to bring this facial challenge.

       Third, to the extent that the plaintiffs bring a facial challenge to the alleged

regulatory requirements that applicants (1) have a fixed address and telephone number,

(2) file an application online that includes scanned documentation,8 and (3) have a credit

or debit card, these easily survive a facial challenge. None of the plaintiffs (or, in the case

of MSI, none of its identified members) alleges that she lacks a fixed address or phone



       8
         Although the plaintiffs allege that the HQL application necessitates access to a
scanner, the HQL application instructions clearly state that “SUPPORTING
DOCUMENTATION IS NOT REQUIRED FOR THE STANDARD APPLICATION.” A
copy of the standard HQL application instructions publicly available through the MSP
website is attached as Exhibit 8.

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number, access to a credit or debit card, or access to a computer with an Internet connection

or an electronic document scanner. Thus, as discussed above, the plaintiffs cannot show

that these alleged requirements are unconstitutional in every circumstance. For the same

reason, these plaintiffs also lack standing to challenge these requirements. See Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (requiring a “concrete and

particularized” injury to establish standing); see also Heller v. District of Columbia, 45 F.

Supp. 3d 35, 71 (D.D.C. 2014) (dismissing for lack of standing a challenge to the District’s

requirement that a firearm registrant “not [be] blind,” because none of the plaintiffs in that

case was blind), aff’d in part, rev’d in part on other grounds, Heller III, 801 F.3d 264.

       The plaintiffs’ facial challenge to the HQL implementing regulations thus fails to

state any claim for relief, and should be dismissed.

       E.     Plaintiffs’ As-Applied Challenges Fail to State a Claim for Relief
              Because None of the Plaintiffs Has Alleged that the Law Has Been
              Applied to Her in an Unconstitutional Manner.

       To the extent the plaintiffs’ complaint could be interpreted to challenge how the

HQL statutory or regulatory requirements have been applied to them, those claims also fail

to state a claim for relief. The plaintiffs have failed to allege with sufficient specificity

how the provisions of the HQL law have prevented them from exercising their Second

Amendment rights, other than to allege generally that the expense and inconvenience of

complying with the requirements has “deterred” them from obtaining an HQL. ECF No.

14, Am. Compl. ¶¶ 9, 14, 19, 24.

       First, as discussed above, none of the plaintiffs (or, in the case of MSI, none of its

identified members) alleges that she lacks access to a computer, the Internet, an electronic

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document scanner, a qualified handgun instructor, a live-scan fingerprint vendor, or a

shooting range, and, thus, the plaintiffs lack standing to challenge the associated

requirements. See Lujan, 504 U.S. at 560. Nor may the plaintiffs “‘challenge [those

requirements] on the ground that [they] may conceivably be applied unconstitutionally to

others, in other situations not before the Court.’” Masciandaro, 638 F.3d at 474 (quoting

Broadrick v. Oklahoma, 413 U.S. 601, 610 (1973)); see also United States v. Skoien, 614

F.3d 638, 645 (7th Cir. 2010) (“A person to whom a statute properly applies can’t obtain

relief based on arguments that a differently situated person might present.”).

       Second, only one plaintiff, Ms. Sliveira, alleges that she does not already own a

firearm, and she has not alleged that she sought an HQL at any time after she learned, in

early 2015, that her personal information was hacked. Thus, she cannot demonstrate that

the alleged application period imposed any burden as applied to her. Nor do the plaintiffs

have standing to challenge the application period as it may be applied to “people who hunt

for food, require a firearm to earn a living, are elderly, terminally ill[,]. . . live in a high

crime area or have been threatened,” ECF No. 14, Am. Compl. ¶ 44, because none of the

plaintiffs alleges that she fits in any of these categories.

       Third, although the individual plaintiffs have alleged generally that they have been

deterred from purchasing a handgun because of the “expense and inconvenience” of

obtaining an HQL, none of them alleges facts sufficient to state a claim for relief. Neither

Ms. Sliviera nor Ms. Miller has alleged that she lacks the resources to comply with the

HQL requirements, nor alleges with any specificity how any of the particular HQL

requirements challenged in this lawsuit has deterred her from obtaining an HQL and, thus,

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each of them has failed to allege how any of the requirements are “unconstitutional because

of the way [they were] applied to the particular facts of [her] case.” Salerno, 481 U.S. at

745 n.3. General allegations that a statutory or regulatory scheme imposes some expense

and inconvenience are the sort of “‘naked assertions devoid of further factual

enhancement’” that fail to satisfy the Rule 12(b)(6) pleading standard. Oberg, 745 F.3d at

136 (quoting Iqbal, 556 U.S. at 678). The remaining plaintiffs’ allegations suffer from the

same infirmity. Ms. Vizas, although alleging that she already “has taken (and passed)

Hunter Safety Training,” and thus would be exempted from the HQL firearms safety

training course, Pub. Safety § 5-117.1(e)(2), alleges generally that “the subsequent steps

for obtaining an HQL are sufficiently burdensome that she has not moved forward.” ECF

No. 14, Am. Compl. ¶ 16. Ms. Vizas has not specified which “steps” have kept her from

moving forward, nor has she alleged how they are “sufficiently burdensome” for her.

Similarly, Ms. Bunch alleges, without any specific factual allegations, that she “cannot

afford the time or excessive cost of acquiring an HQL.” Id. ¶ 24.

       For all of these reasons, Count I should be dismissed.

II.   THE PLAINTIFFS’ DUE PROCESS CLAIM FAILS BECAUSE THE STATUTE
      DOES NOT GIVE PRIVATE HANDGUN INSTRUCTORS AUTHORITY TO DENY
      SECOND AMENDMENT RIGHTS AND THE WORDS “RECEIVE” AND
      “RECEIPT” ARE NOT VAGUE.

      A.     The Firearm Safety Act Does Not Give Private Handgun
             Instructors Authority to Grant or Deny Second Amendment
             Rights.

      In Count II, the plaintiffs contend that the State has violated their procedural due

process rights by giving private handgun instructors the “absolute authority to grant or


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deny” their Second Amendment rights without providing any right to appeal to a court.

ECF No. 14, Am. Compl. ¶¶ 59-61. The premise of the plaintiffs’ claim is false and

unsupported by necessary factual allegations, as neither the statute nor the implementing

regulations give private handgun instructors the authority to grant or deny a Second

Amendment right, the plaintiffs have failed to identify any actual deprivation of a protected

right, and the right to appeal an adverse decision on an HQL application is always available.

       The procedural due process requirement of the Fourteenth Amendment “simply

ensures a fair process before the government may deprive a person of life, liberty, or

property.” Sansotta v. Town of Nags Head, 724 F.3d 533, 540 (4th Cir. 2013). A

procedural due process claim requires a plaintiff to satisfy three elements. First, the

plaintiff “must demonstrate that he had a constitutionally cognizable life, liberty, or

property interest.” Id. at 540. Second, the plaintiff “must show that the deprivation of that

interest was caused by ‘some form of state action.’” Id. (quoting Iota Xi Chapter of Sigma

Chi Fraternity v. Patterson, 566 F.3d 138, 145 (4th Cir. 2009)). Third, the plaintiff “must

prove ‘that the procedures employed were constitutionally inadequate.’” Id. (quoting

Patterson, 566 F.3d at 145).

       The plaintiffs have identified their Second Amendment right as the relevant

constitutionally-protected interest. However, the plaintiffs’ procedural due process claim

fails on both the second and third elements. Indeed, not only have the plaintiffs failed to

identify any actual deprivation of their Second Amendment rights by a qualified handgun

instructor, none of them even alleges any relevant action, or even inaction, by a qualified

handgun instructor.

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       In Sansotta, the Fourth Circuit considered whether the owners of beach properties

in North Carolina who had been fined for violation of public nuisance laws had stated a

procedural due process claim for deprivation of the money they would have to pay pursuant

to the fine. However, the Court held that because the owners had not actually paid the fine,

they had not yet been deprived of anything, and their procedural due process claim thus

failed. 724 F.3d at 540. In this case, the complaint does not contain even a suggestion that

the plaintiffs, or anyone else, have actually been deprived of their Second Amendment right

by the action of a qualified handgun instructor. Their claim thus fails.

       Moreover, the plaintiffs’ claim, which is entirely speculative, originates in the

requirement that an individual applicant for an HQL demonstrate that he or she has

completed the firearms training course that is required by § 5-117.1(d)(3). ECF No. 14,

Am. Compl. ¶¶ 59-60. A qualified handgun instructor’s role is solely to provide the safety

training course required by the statute, not to grant or deny an HQL license, or to make any

discretionary determination of any kind. Pub. Safety § 5-117.1(d); COMAR 29.03.01.29,

.37. For that reason as well, the plaintiffs have not stated a procedural due process claim.

       In addition, the plaintiffs cannot demonstrate the third prong of a due process claim,

as a matter of law, because any denial of an HQL, for any reason, is subject to judicial

review. Statute and regulation both set forth an appeal process including an initial appeal

to the Secretary followed by judicial review in state court. Pub. Safety § 5-117.1(l);

COMAR 29.03.01.36.

       The plaintiffs’ procedural due process claim must be dismissed.



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       B.     The Terms “Receive” and “Receipt” Are Not Void for Vagueness.

       The plaintiffs have similarly failed to state a claim upon which relief might be

granted that the statutory terms “receipt” and “receive” are void for vagueness.

       “It is a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 107

(1972). The “void for vagueness doctrine addresses at least two connected but discrete due

process concerns: first, that regulated parties should know what is required of them so they

may act accordingly; second, precision and guidance are necessary so that those enforcing

the law do not act in an arbitrary or discriminatory way.” Federal Commc’n Comm’n v.

Fox TV Stations, 132 S. Ct. 2307, 2317 (2012). Thus, “‘a legislature [must] establish

minimal guidelines to govern law enforcement.’” United States v. Lanning, 723 F.3d 476,

482 (4th Cir. 2013) (quoting Smith v. Goguen, 415 U.S. 566, 574 (1974)).

       However, courts “do not hold legislators to an unattainable standard when

evaluating enactments in the face of vagueness challenges.” Wag More Dogs, 680 F.3d at

371. “‘A statute need not spell out every possible factual scenario with ‘celestial precision’

to avoid being struck down on vagueness grounds.’” United States v. Hager, 721 F.3d 167,

183 (4th Cir. 2013) (citation omitted). A statute “‘must be construed, if fairly possible, so

as to avoid not only the conclusion that it is unconstitutional, but also grave doubts upon

that score.’” Id. at 183 (citation omitted). Thus, before finding a statute vague, a “federal

court must ‘consider any limiting construction that a state court or enforcement agency has

proffered.’” Martin v. Lloyd, 700 F.3d 132, 136 (4th Cir. 2012) (quoting Village of

Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494 n.5 (1983)).

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       Under § 5-117.1 of the Public Safety Article, a person may not “purchase, rent, or

receive a handgun” without an HQL. Section 5-144 of the Public Safety Article thus makes

unlawful the purchase, rental, or “receipt” of a regulated firearm (including a handgun) in

violation of that subtitle. The plaintiffs contend that the use of “receive” and “receipt” in

these provisions is unconstitutionally vague. They are incorrect.

       First, the plaintiffs’ very allegations demonstrate a central deficiency in their claim,

which is their acknowledgment that their proffered interpretation of these terms is not

reasonable. The plaintiffs contend that reading “receive” and “receipt” as broadly as they

posit would lead to “absurd results,” such as “criminalizing conduct that no reasonable

person would believe or understand to be wrongful.” ECF No. 14, Am. Compl. ¶ 66.

However, it is only the plaintiffs who posit these interpretations that “no reasonable

person” would accept. Id. It is a “well-established canon[] of statutory construction” that

“a statute must be given ‘a reasonable interpretation, not one that is absurd, illogical, or

incompatible with common sense.’” Smith v. State, 425 Md. 292, 299 (2012) (citation

omitted). That “principle applies even when the statute is ambiguous.” Id.

       Second, the terms at issue, considered in context, are not vague or ambiguous.

Section 5-117.1(b) addresses the transfer of handguns from the perspective of the

transferor, and prohibits a transferor to “sell, rent, or transfer” a handgun to someone

without an HQL. Section 5-117.1(c) then addresses the transaction from the transferee

side, forbidding an individual to “purchase, rent, or receive” a handgun without an HQL.

These provisions are mirror images of each other. “Sell” and “purchase” are two sides of

a permanent transfer for consideration of ownership. “Rent” is used in both provisions to

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refer to a “temporary transfer for consideration of a regulated firearm that is taken from the

property of the owner of the regulated firearm.” Pub. Safety § 5-101(s).

       “Transfer,” as used in subsection (b), and “receive,” as used in subsection (c), are

two sides of a permanent, non-commercial transfer of a firearm. That natural meaning is

confirmed by controlling Maryland law. The Maryland Court of Appeals considered the

scope of Maryland’s regulated firearms laws – then covered in § 442 of the former Article

27 – in Chow v. State, 393 Md. 431 (2006). In Chow, the court specifically addressed the

meaning of the term “transfer” as used in a statute making it unlawful for a person who is

not a regulated gun owner to “sell, rent, transfer, or purchase any regulated firearm”

without complying with the application process and waiting period. Chow, 393 Md. at 442

(quoting former art. 27, § 442(d)(1)).

       The Court of Appeals observed that the word “transfer” can have different meanings

in different contexts, and so it was required to “look to the context in which the word is

used.” Id. at 448. The court therefore looked to the definitions of the other terms that were

paired with “transfer” in the statute. Id. at 448-49. In those statutes, the court concluded,

all of the terms used except “rent” contemplated a permanent exchange of title or

possession of the firearm. Id. “Rent,” by contrast, was (and still is) expressly defined in

the statute to be “the temporary transfer of a regulated firearm for consideration where the

firearm is taken from the firearm owner’s property.” Id. Thus, the court concluded that

the statute covered only three different types of transactions: (1) permanent commercial

transfers, covered by the terms “sell” and “purchase”; (2) temporary commercial transfers

where the firearm leaves the owner’s property, covered by the defined term “rent”; and

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(3) permanent gratuitous transfers, covered by the term “transfer.” Id. at 454-55. Thus,

the Court concluded that the statute did not regulate a “temporary gratuitous exchange of

a regulated firearm between persons legally permitted to possess firearms.” Id. at 463

(emphasis in original). Notably, the provision establishing the penalty for a violation of

the regulated firearms laws applied, then as now, to the “receipt of a regulated firearm” in

violation of the statute. Id. at 434-35 & n.3, 463 (emphasis added).

       The analysis in Chow is equally applicable to the use of the term “receive” in

§ 5-117.1(c). “[R]eceive” and “transfer” address two sides of the same transaction – the

permanent, gratuitous transfer of ownership of a regulated firearm. Moreover, the General

Assembly, acting seven years after the Chow decision defined the scope of the regulated

firearms laws, placed § 5-117.1 squarely within that portion of the Public Safety Article

addressing regulated firearms, subtitle 1 of Title 5 of the Public Safety Article. In doing

so, the General Assembly is deemed to have acquiesced to the earlier interpretation of the

Court of Appeals. Macke Co. v. State Dep’t of Assessments and Taxation, 264 Md. 121,

132-33 (1972) (when the General Assembly legislates in light of a prior judicial

construction without disturbing that construction, the General Assembly “is deemed to

have acquiesced in the prior judicial interpretation as expressing the legislative intent”).

These provisions thus do not cover the temporary, gratuitous transfer of a handgun.

       An additional reason the terms “receive” and “receipt” cannot reasonably be

construed as broadly as plaintiffs proffer is that they would render superfluous all of the

other statutory terms defining the transactions that are covered by the regulated firearms

laws. If, as the plaintiffs posit, “receive” and “receipt” cover any exchange of physical

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possession of a firearm, they would necessarily cover any sale, purchase, rental, or other

transfer of a firearm, rendering those terms superfluous. Statutes must be read so as not to

render superfluous any of their terms. Chow, 393 Md. at 442.

       For all of these reasons, Count II must be dismissed.


III.   THE PLAINTIFFS HAVE FAILED TO STATE A CLAIM FOR VIOLATION OF
       MARYLAND LAW UPON WHICH RELIEF CAN BE GRANTED IN COUNT III.

       In Count III, the plaintiffs allege a violation of Maryland law through the Maryland

State Police’s adoption of implementing regulations and application requirements. The

plaintiffs thus seek a declaratory judgment, pursuant to § 10-125 of the State Government

Article, that finds various aspects of the implementing regulations invalid as exceeding the

Maryland State Police’s statutory authority or as failing “to comply with statutory

requirements for the adoption of the provision.” Md. Code Ann., State Gov’t § 10-125(d).

       In enacting the HQL law, the General Assembly expressly authorized the Secretary

to “adopt regulations to carry out the provisions of this section.” Pub. Safety § 5-117.1(n);

see also Pub. Safety § 5-105 (requiring the Secretary to adopt regulations “to carry out this

subtitle”).9 When assessing whether regulatory action is “consistent with the letter and the

spirit of the law under which the agency acts,” Medstar Health v. Maryland Health Care

Comm’n, 376 Md. 1, 20 (2003), courts accord substantial deference to the action, with their



       9
         Although the plaintiffs make the bald, conclusory allegation that the Maryland
State Police failed to comply with “statutory requirements” for adopting regulations, ECF
No. 14, Am. Compl. ¶ 84, they fail to identify any alleged noncompliance. Such legal
conclusions, absent supporting factual allegations, fall far short of what is required to “state
a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678.

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review “‘limited to assessing whether the agency was acting within its legal boundaries,’”

id. at 20-21 (citation omitted); see also id. at 21 (explaining that courts examining

regulations adopted under Maryland law are generally required to “‘defer to the agencies’

decisions,’” especially with respect to “agencies working in the area of health and safety”)

(citation omitted).   Thus, Maryland courts have “‘upheld [an] agency’s rules and

regulations as long as they did not contradict the language or purpose of the statute.” Id.

(quoting Christ by Christ v. Maryland Dep’t of Nat. Res., 335 Md. 427, 437 (1994)).

       Count III must be dismissed because the plaintiffs have failed to identify any aspect

of the challenged regulatory action that contradicts the language or purpose of the HQL

statute.

       A.     The HQL Law Does Not Require the Maryland State Police to
              Offer Background Check and Fingerprinting Services.

       The plaintiffs complain that the Maryland State Police “has chosen not to” provide

background check and fingerprinting services, even though it is not precluded from doing

so. ECF No. 14, Am. Compl. ¶ 78. In noting only that the Maryland State Police is not

precluded from offering those services, the plaintiffs implicitly concede that nothing in the

statute’s text requires the Maryland State Police to offer these services, and the plaintiffs

have not identified any other source of an alleged obligation to do so. Thus, the plaintiffs

have failed to state any claim that not providing these services contradicts Maryland law.

       B.     None of the Challenged Regulations Concerning Firearms Safety
              Training Are Beyond the Scope of the HQL Law.

       The plaintiffs also challenge four components of the Secretary’s regulations and

policies concerning the firearms training component of the HQL law. Because none of

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these components is inconsistent with the statute – to the contrary, some are mandated by

the statute – the plaintiffs’ claim fails. First, the plaintiffs challenge as beyond the statutory

authority of the Maryland State Police the regulatory actions “requiring training by a

private State certified instructor, and refusing to provide any training by the Maryland State

Police.” ECF No. 14, Am. Compl. ¶ 80(f). However, it is the statute, in the first instance,

that imposes the requirement that the training be provided by a qualified handgun

instructor. Pub. Safety § 5-117.1(d)(3)(i). The regulation is not in contradiction. See

COMAR 29.03.01.29(C). Further, the statute does not require the State Police to offer

training courses, nor does it even contemplate that the State Police might do so. To the

contrary, the term “qualified handgun instructor” is defined by statute as a certified

handgun instructor who: (1) is recognized by the Maryland Police and Correctional

Training commissions; (2) holds a license issued by the Secretary; or (3) holds a

“certification issued by a nationally recognized firearms organization.” Pub. Safety

§ 5-101(q); see COMAR 29.03.01.01(B)(36) (deferring to statutory definition).

       Second, the plaintiffs challenge the “practice component in the training requirement

in which the applicant fires at least one round of live ammunition, thereby requiring access

to a shooting range.” ECF No. 14, Am. Compl. ¶ 80(g). In § 5-117.1(d)(3)(iii), the General

Assembly required that one component of the training required of HQL applicants is “a

firearms orientation component that demonstrates the person’s safe operation and handling

of a firearm.” In further elucidating that requirement by regulation, the Secretary requires

“a practice component in which the applicant safely fires at least one round of live

ammunition.” COMAR 29.03.01.29(C)(4). The plaintiffs’ challenge must fail because

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there is no plausible reading of the statute’s requirement that an applicant “demonstrate[]

the . . . safe operation . . . of a firearm” (emphasis added) that is contradicted by the

requirement that an applicant do so by firing at least one round of live ammunition.

       Third, the plaintiffs make the conclusory allegation that the Secretary has “refus[ed]

or fail[ed]” to approve alternative firearms training courses. ECF No. 14, Am. Compl.

¶ 81. However, because the statute clearly places with the Secretary the authority to

approve alternative firearm trainings courses, the plaintiffs’ allegations, even if true, are

insufficient to demonstrate that the Secretary’s actions contradict the terms of the statute.

Moreover, the plaintiffs allege merely that “fully sufficient training is readily available

from National Rifle Association (“NRA”) certified instructors” through certain NRA

courses. Id. The plaintiffs do not allege that such courses actually satisfy the minimum

requirements of the HQL statute or that the Secretary has been asked to approve any of

them. Notably, the applicable regulations identify as a qualified handgun instructor anyone

who has been issued a “valid instructor certificate issued by a nationally recognized firearm

organization.” COMAR 29.03.01.37(A)(3). As a result, if any of the courses identified by

the plaintiffs meet the minimum requirements of Maryland law, and are taught by an NRA-

certified instructor who has submitted proof of that certification to the Secretary (COMAR

29.03.01.37(B)), then they already meet the requirements of the HQL law.

       Fourth, the plaintiffs’ claim that the Secretary has impermissibly shifted the burden

of paying for a training course to individual applicants, ECF No. 14, Am. Compl. ¶ 86, is

without merit. The plaintiffs’ contention that the General Assembly intended the costs of

obtaining training from a qualified handgun instructor (as required by the statute, Pub.

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Safety § 5-117.1(d)(3)) to be covered as part of the “nonrefundable application fee to cover

the costs to administer the program of up to $50,” Pub. Safety, § 5-117.1(g)(2), is without

merit. An individual’s training costs are not “costs to administer the [HQL] program.”

       C.     The Plaintiffs’ Remaining Challenges Fail for Lack of Standing
              and Because the Challenged Requirements Do Not Contradict the
              HQL Statute’s Language or Purpose.

       The plaintiffs lack standing to challenge the remaining aspects of the regulations

about which they complain. As discussed above, none of them alleges that she lacks access

to a computer with an Internet connection, lacks access to an electronic document scanner,

lacks a fixed address and telephone number, lacks access to the network of live-scan

fingerprint vendors throughout the State, or lacks access to a credit card or debit card. See

ECF No. 14, Am. Compl. ¶ 80(a)-(e). Thus, the plaintiffs have failed to articulate that they

have suffered an injury in fact such that they have been injured “in a personal and individual

way” by these regulatory requirements. Lujan, 504 U.S. at 560-61 & n.1.

       Beyond standing, many of the plaintiffs’ complaints relate to the electronic format

of the HQL application and information required on that application.               However,

§ 5-117.1(g) expressly requires submission of “an application in the manner and format

designated by the Secretary,” and requires an applicant to provide, in addition to

information expressly required by the statute, “any other identifying information or

documentation required by the Secretary.” Pub. Safety § 5-117.1(g)(1), (4). Given that

express grant of discretion, the Secretary’s selection of an electronic format for the

application, selection of an approved format for fingerprints, and request for information

such as address and telephone number, cannot be said to contradict the HQL statute.

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       Moreover, many of the plaintiffs’ claims about what the regulations require are

unsupported and incorrect. For example, the plaintiffs provide no factual allegations to

support their claim that the State Police mandate “having access to an electronic document

scanner,” ECF No. 14, Am. Compl. ¶ 80(b), nor is there any such requirement. See footnote

8 above. And although the application must be submitted electronically, and include a

form of payment that can be accepted electronically, it is within the scope of judicial notice

that public libraries provide access to computers with an Internet connection to every

Marylander, and prepaid debit cards are ubiquitous at convenience stores and grocery

stores, among other venues.

       For all of these reasons, Count III must be dismissed.


                                      CONCLUSION

       The Court should dismiss the complaint.

                                           Respectfully Submitted,

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Dated: January 20, 2017                    Attorneys for Defendants




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                     TABLE OF EXHIBITS TO
     DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

Exhibit No. Title

1.     Intentionally left blank

2.     Md. Code Ann., Pub. Safety § 5-117.1

3.     Code of Maryland Regulations (COMAR) 29.03.01.26 - .41

4.     Daniel Webster et al., Preventing the Diversion of Guns to Criminals through
       Effective Firearm Sales Laws, in Reducing Gun Violence in America: Informing
       Policy with Evidence and Analysis 109-22 (Webster, et al., eds., Johns Hopkins
       Univ. Press 2013)

5.     Kara E. Rudolph, et al., Association Between Connecticut’s Permit-to-Purchase
       Handgun Law and Homicides, 105 Am. J. of Public Health 8 (Aug. 2015)

6.     Daniel Webster, et al., Effects of the Repeal of Missouri’s Handgun Purchaser
       Licensing Law on Homicides, 91 J. of Urban Health 2 (2014)

7.     Cassandra K. Crifasi, et al., Effects of Changes in Permit-to-Purchase Handgun
       Laws in Connecticut and Missouri on Suicide Rates, 79 Preventive medicine 43
       (2015)

8.     Maryland State Police, HQL Standard Application Instructions
